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                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
           HIGH OFF LIFE, LLC,               )
                                             )
                                             )
                      Plaintiff(s),                                No. 2:20-cv-1556-WSH
               v.                            )    Civil Action No. ______________________
           FREEBANDZ PRODUCTIONS, LLC, )
           and SONY MUSIC HOLDINGS, INC. )
                                             )
                      Defendant(s).
                       STIPULATION SELECTING ADR PROCESS

       Counsel report that they have met and conferred regarding Alternative Dispute
Resolution (ADR) and have reached the following stipulation pursuant to L.R. 16.2 and the
Court’s ADR Policies and Procedures.
I. PROCESS
Select one of the following processes:

       X
       ______ Mediation
              Early Neutral Evaluation (ENE)
       ______ Court sponsored Binding1 Arbitration
       ______ Court sponsored Non-binding Arbitration
              Other (please identify process and provider) _____________________________
             ________________________________________________________________

If you are utilizing a private ADR process, such as the American Arbitration Association,
be advised that the case is still governed by the Court’s ADR Policies and Procedures. It is
the responsibility of counsel to ensure that all of the proper forms are timely submitted and
filed, as required by Policies and Procedures.
II. COSTS
The parties have agreed to share the ADR costs as follows (do not complete percentages for
Court sponsored arbitration. For that process, costs are paid by the Court in accordance with 28
USC §658.):
       50      % by Plaintiff(s)
       50      % by Defendant(s)
               % by Third Party Defendant(s)
If a dispute arises as to compensation and costs for the mediator/neutral evaluator/private
arbitrator, the Court will set reasonable compensation and costs.


1
 For binding arbitration, please complete form “Stipulation to Binding Arbitration” located on
the Court’s website at www.pawd.uscourts.gov
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III. NEUTRAL

The parties hereby designate by agreement the following individual to serve as a Neutral in the
above-styled action:

Name of Neutral:                   The parties have exchanged names of proposed mediators,
                                   ____________________________________________
Address of Neutral:                but have not been able to finally select one owing to mediator
                                   ____________________________________________
Telephone & FAX Numbers:           availability or perceived appropriateness for this matter.
                                   ____________________________________________
Email address of Neutral:          The parties continue to assess mediators and intend to
                                   ____________________________________________
Date of ADR Session:               make a final selection by June 3, 2022
                                   ____________________________________________

The parties represent that they have contacted the selected prospective neutral and have
determined that the neutral is available to conduct the ADR session within the time prescribed by
the Court's Policies and Procedures and that the neutral does not have a conflict.
IV. PARTICIPANTS
Name and title of the individual(s) who will be attending the mediation or early neutral
evaluation session, in addition to counsel, in accordance with Section 2.7 (Attendance at
Session) of the Court’s ADR Policies and Procedures:

__6WHSKHQ0F$UWKXU                               _________________________
7KRPDV'LHWULFK                                   Plaintiff(s)
__________________________
Attorney for Plaintiff(s)                          _=DFK5LFKDUGVIRU+LJKRII/LIH//&
                                                   ____________________________

                                                   _____________________________
                                                   Corporate Representative
                                                   (Name and Title)
David Rose and Dyan Finguerra-DuCharme             Freebandz Productions, LLC/Sony Music Entertainment
_____________________________
Attorney for Defendant(s)                          _____________________________
                                                   Defendant(s)
                                                   Stephanie Jester/Julie Shapiro, Esq.
                                                   _____________________________

                                                   _____________________________
                                                   Corporate Representative
                                                   (Name and Title)
_____________________________
Attorney for Third Party Defendant(s)              _____________________________
                                                   Third Party Defendant(s)

                                                   _____________________________

                                                   _____________________________
                                                   Corporate Representative
                                                   (Name and Title)
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If there is insufficient space to list all parties who will be attending the session, please add
additional sheets as necessary.

Each party certifies that the representative(s) attending the ADR session on its behalf has full and
complete settlement authority, as specified in sub-section (A)(1-3) of the above section of the
Court’s ADR Policies and Procedures.


V. ACKNOWLEDGMENT

      We, the undersigned parties to this action, declare that this stipulation is both consensual
and mutual.

Dated: 5/31/22                 s/ Thomas Dietrich
                               ______________________________________
                               Attorney for Plaintiff(s)

Dated:   5/31/22                s/ David C. Rose (w/permission)
                               ______________________________________
                               Attorney for Defendant(s)
                                                                                         Rev. 4/2017
